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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 AMERICAN BROADCASTING
 COMPANIES, INC., DISNEY
 ENTERPRISES, INC., TWENTIETH
 CENTURY FOX FILM CORPORATION,
 CBS BROADCASTING INC., CBS STUDIOS                  No. 19-cv-7136 [ l l .-)
 INC., FOX TELEVISION STATIONS, LLC,
 FOX BROADCASTING COMPANY, LLC,
 NBCUNIVERSAL MEDIA, LLC,
 UNIVERSAL TELEVISION LLC, and OPEN                              --~-·
 4 BUSINESS PRODUCTIONS, LLC,                                    LSDC Su\\
                                                                 DO(T\tENT
                Plaintiffs,
                                                                 EU·.l l H.O\ICALLY FILED
        V.                                                       D( ,C ~'. - - - - - , - - - - ~ -

 DA YID R. GOODFRIEND and SPORTS
                                                                 D .\TE Fil 't.D:_2_//    i,./z l
 FANS COALITION NY, INC.,

                Defendants.


                    JOINT STIPULATION AND .[.llllQPQiiE8'] ORDER
                       MODIFYING CASE SCHEDULING ORDER

       Plaintiffs, American Broadcasting Companies, Inc., Disney Enterprises, Inc., Twentieth

Century Fox Film Corporation, CBS Broadcasting Inc., CBS Studios Inc., Fox Television

Stations, LLC, Fox Broadcasting Company, LLC, NBCUniversal Media, LLC, Universal

Television LLC, and Open 4 Business Productions, LLC ("Plaintiffs"), and Defendants, David

R. Goodfriend and Sports Fans Coalition NY, Inc. ("Defendants"), by and through their counsel,

respectfully submit this Joint Stipulation and Proposed Order Modifying the Scheduling Order in

the above-captioned matter.

       On January 31, 2020, this Court entered an initial Scheduling Order with deadlines set

through the close of expert discovery on September 11, 2020. The Court also scheduled a status
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conference for June 19, 2020 to assess the progress of the case and set the remaining case

schedule.

       The parties request a two-month extension of the deadlines set forth below because of the

impact of the disruptions caused by the COVID-19 health crisis, including local government

restrictions on out-of-home activities. Counsel for the parties have conferred about the effect of

these circumstances upon the case's schedule. The parties request that the Court retain the June

19, 2020 status conference (telephonic or in person, as the Court directs) to assess the case's

progress. This is the first time the parties have sought an extension or modification to the case

schedule.

         IT IS HEREBY STIPULATED AND AGREED, subject to the Court's approval, that the

following deadlines are extended pursuant to the table below:

 Event                              Current Deadline                New Deadline

 Status conference                  Friday, June 19                 Unchanged

 Fact discovery completed           Friday, June 19                 Friday, August 14

 Burden-of-proof expert reports     Friday, July 17                 Friday, September 11

 Rebuttal expert reports            Friday, August 14               Friday, October 9

 Expert discovery completed         Friday, September 11            Friday, November 6




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Dated: May 12, 2020                                Respectfully submitted,


/s/ Elizabeth E. Brenckman                         /s/ Thomas G. Hentoff
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                                                   Attorneys for PlainN[fs Fox Television
                                                   Stations, LLC and Fox Broadcasting
                                                   Company, LLC

         -~~
On this --1---4-- day of May, 2020,

Approved By:



The Honorable Louis L. Stanton
United States District Judge



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